 Case 1:18-cv-00194-PLM-PJG ECF No. 23 filed 05/01/18 PageID.293 Page 1 of 3



                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                          (Southern Division)


NATHANIEL SPENCER, III,                     Civil Action No. 1:18-cv-00194-PLM-
                                            PJG
      Plaintiff,
                                            Judge Paul L. Maloney
v.                                          Magistrate Judge Phillip J. Green

EXPERIAN INFORMATION
SOLUTIONS INC., et al.,

      Defendant.

NATHANIEL SPENCER, III                      KING & SPALDING LLP
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                                            Attorneys for Equifax Inc.


             DEFENDANTS EQUIFAX INC.’S AND
          EQUIFAX INFORMATION SERVICES LLC’S
 MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

      Defendants, Equifax Inc. and Equifax Information Services LLC, by counsel

and pursuant to Federal Rule of Civil Procedure 12(b)(6), hereby move the Court to

dismiss this action with prejudice, and grant all other relief that the Court deems

appropriate. In support of this motion, Equifax Inc. and Equifax Information




                                        1
 Case 1:18-cv-00194-PLM-PJG ECF No. 23 filed 05/01/18 PageID.294 Page 2 of 3



Services LLC rely upon the accompanying brief. For the reasons set forth more fully

in its accompanying brief, Equifax requests that this motion be granted.

      Respectfully submitted this 1st day of May, 2018.

                                              /s/ Kendall W. Carter
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                                          2
Case 1:18-cv-00194-PLM-PJG ECF No. 23 filed 05/01/18 PageID.295 Page 3 of 3



                        CERTIFICATE OF SERVICE

      I hereby certify that on the 1st day of May, 2018, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system and via U.S. Mail to:

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                                      /s/ Kendall W. Carter
                                      Kendall W. Carter




                                        3
